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                                     ./~         1~
                                                                                             ~.~cnn, u.5. DISTRICT COURT
    FULL NAMG

    ~~v~~ ~~O
   COh1MITTLD NA1dC (if Jiffcrcnt)                                                                   FEB 2 ?. ?~17
      G ~'~P
   FULL ADDRESS INCLUDING NAME OF INSTfTL'TfON                                              BYNTRALDIST               CALIF FtNIA
                                                                                                                         D EPUTY
    G?c~' ~p~`~ ~~~il~t
   PRISON;JIJhBER (if applicable)




                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
         3'r(7~11~N~
 ~.1.1-2~1                           ~CCC.c~.n ~..~A                    CASE
                                                                                /~J v ~ 1 '
                                                                                          ~ O O ~ ~ ~ J~~ v
                                                                                               To he supplied by tl:e Clerk

                                                      PLAINTIFF,
                                       ~'                                         CIVIL RIGHTS COMPLAINT
                                                                                      PURSUANT TO (C1:eek or~eJ
                                                                        ~ 42 U.S.C. § 1983
~o~~( OF ~~~-5~ ~-~~f ~DEFENDANT(S).
                                                                        ❑ Bivens v. Six Unknown Agents 403 U.S. 388 (1971)

 A. PREVIOUS LAWSUITS

      1. Have you brought any other lawsuits in a federal court while a prisoner:,P~ Yes            ❑ No

      2. If your answer to "1." is yes, ho~~~ man}'?

           Describe t17e lawsuit in the space below. (If there is more than one lawsuit, describe t]Ie additional lawsuits on an
           attached piece of paper using the same outline.)

          ~~~ ~~ a~ f~l:/#-~ ~'/~S
          (                                            C.~~~~' ~              C'~1/~II~(~z~' ..~-         ~'~..1. ~~.rL.~v~. >~-


                S~~'s~~~




                                                      civic. a►cirrs co~~~~Ni,n~n~ i.
C V-66 (7/97)                                                                                                                  Page 1 of 6
        Case
          a. 5:17-cv-00333-DSF-SP
             Parties to this previous la+x~u~t:Document 1 Filed 02/22/17 Page 2 of 18 Page ID #:2
                   Plaintiff


        •          Defendants


               b. Court


               c. Docket or case number
               d. Name ofjudge to whom case was assigned
             e. Disposition (For example: Vas the case dismissed? If so, what
                                                                              was the basis for dismissal? tiVas it
                appealed? is it still pending?)
             f. Issues raised:




             ~. Approximate date of filing lawsuit:
             h. Approximate date of disposition _


 ~. E.~i-~USTIO~i OF ADIIL~iISTRATNE REI~TEDIES

       1. Is there a grievance procedure ar•ailable at the institution tir~here
                                                                                the events relating to your current complaint
          occurred? ~! Yes ❑ No

      2. Have you filed a arier-ance concerning the facts relating to your currznt
                                                                                          complaint? ❑Yes            ❑ Ido
             If your answer is no, explain ~vhy not custom and practies by jail employ
                                                                                       ees have prevented
            plaintiff from getting grievances to file on these
                                                                          issues.



      3. Is the ;rievance procedure completed? ❑Yes           ~ No

            If yp~u answer is no, explain why not



     ~4. Please attach copies of papers relatzd to the grievance procedure.

C. 3URISDICTION

     This complaint alleges that the civil rights of plaintiff ~'~2~_-1c~~
                                                                         ,                         ~i/< <--~ ~ ~ ~ A'v ~ ~" ~`~~~
                                                                                          (print plaintit~'s name)
     «~ho presently resides at C.V.S.P.        P.O. Box 2349           Blythe, CA. 92226
                                                            (mai ing a dress or p ace of conhnzm~n[)
    ~~~ere violated by the actions of the defendants) named be(o~v, ~~•hich actions
                                                                                    «•ere directed against plaintiff at
   KU~~~2~ ~?2.r. S Lt 1,                    ~C~~i~-.~-~ov` Cente~ ~~ SlTV~
                                       ~      (insutuuonciry ~~htre r•~o anon occurre )
                                                                                                     lii C           S~


                                                    CI~'1L KIGHTS CO~IPLAI~T
CV-6fi(7:97)
                                                                                                                             Pa;e 2 of6

                                                                                                                                   i~ ~.
                                                  --~.
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     ~(on (date or da s)_~~`~                  ~`~ 1~'c                     ~i ~ ~~,_~
                                        ~~~~.~~~~ .~                      atm J                        (~'laim lll)
        tiOTE:     You need not name more than one defendant or a11eQe more
                                                                               than one claim. Ifyou are naming more than
                   five (~)defendants, make a copy of this page to provide the
                                                                               information For additional defendants.
        I. Defendant      ~VERSIDE CQJNTY SHERIFF DEPARTMENT
                       (tul name of tirst dzten ant)                                                            resides or works at
                          4080 LEMON ~'TREET                      RIVERSIDE, CA, 92501
                       (full addrzss oFfirst dzFzndant)
                          PUBLIC ENTITY
                       ( elendant's position and title, it any)


           The defendant is sued in his/her(Check one or both): ❑individual
                                                                                       CXJ official capacity.
           Explain ho~v this defendant was acting under color of law:
           liable for widespread custom or practice which is the moving force behind the
           constitutional deprivation.

      2. Defendant          STAN SNIFF                             ~
                      (cull name of t~rst detendan[)                                                        resides or works at
                            4095 Lemon Street                       RIVERSIDE, CA.     g~,~01..
                     (Cull address of first dzfendant)
                            SHERIFF
                     (dttend:ui['s posi~ion and titlz, it anv)


          The defendant is sued in his/her(Check one or both): D individual           ❑official capacity.

          Explain how this defendant tivas acting under color of la~v:
        As top policy marker for Sheriff's Department failed to fix or abuse
                                                                               the unsanitary
        condition and break up the custom and practice of subordination that
                                                                               aid to the
        constitutiona vio ations.
     3. Defendant WILLIAM DI YORI~~
                 (full name of first detendan~)                           resides or works at
                        4095 Lemon Street                         RIVERSIDE, CA.      92501
                     {Full address of first defendant)
                        UNDER SHERIFF
                     (dztzndan~'s position and Utle, ~t any)


         The defendant is stied in his/her(Check one or both): ~ individual           ❑official capacity.

          E~cplain how this defendant tivas acting under color of law:
          As top policy marker for Sheriff Department failed to fix abuse
                                                                            the unsanitary
          condition and break up the custom and practice subordinatio
                                                                       n that aid to the
          constitutional violations.




                                                          CI1'IL R1CItTS COJIPLAI\T
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                                                                                                                              P~sc 3 0l'6
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      4. Defendant       KEVIN JEFFERIES
                      (tul name of tirst dzten ant)                                                             resides or works at
                         4080 Lemon Street                       RIVERSIDE, CA.        92501
                      (full address of first defzndant)
                         BOARD OF SUd°E RVISO RS
                     ( etendants position and title, it any)


          The defendant is sued in his/her(Check one or both): C& individual              ❑official capacity.

          Explain ho~v this defendant was acting under color of law:
          Failed to allocate funds to fix or abate the unsanitary condition after 2011.



     5• Defendant      ~'~ON ASHLEY
                     (cull name of first dztendan[)                                                            re5(deS or ~vOrks at
                       4080 Lemon Street                       RIVERSIDE, CA. 92501
                     (full address of first defendant)
                       BOARD OF SUPERVISORS
                    (detendant's position and 4dz, it any)


         The defzndant is sued in his/her(Check one or both): ~l individual              ❑official capacity.

         Explain how this defendant tivas acting under color of la~v:
          Failed to allocate funds to fix or abate the unsanitary condition after 2011.




     6•Defendant       JOHN TAVAGLIONE
                    (full name of first etendant)                                                          resides or works at
                       4080 Lemon Street                   RIVERSIDE, CA         92501
                    {Full address of First defendant)
                       BOARD OF SUPERVISORS
                    ( ztendanYs position and tale, it any)


         The defendant is sued in his/her(Check one or both): ~ individual               ❑official capacity.

         Explain hotiv this defendant was actin] under color of law;
          Failed to allocate funds to fix or abate the unsanitary condition after 2011.




                                                          Cl~'IL RICIiTS CO\INL~~1\T
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                                                                                                                              Paoc 3 of6
       Case 5:17-cv-00333-DSF-SP
                     JEFF STONE  Document 1 Filed 02/22/17 Page 5 of 18 Page ID #:5
        ~ •Defendant
                         (tu I name of fi rst etendant)                                                       resides or works at
                             4080 Lemon Street                       RIVERSIDE, CA.       92501
                         (Full address of first defendant)
                             BOARD OF SUPERVISORS
                         (deten ant's position an title, it and•)


              The defendant is sued in his/her(Check one or both): ~ individ
                                                                             ual       ❑official capacity.
              Explain hotiv this defendant was actin; under color of law:
              Failed to allocate funds to fix or abate the unsanitary
                                                                          condition after 2011.



      8'Defendant            JOHN BENOIT
                                                                                                             resides or works at
                        (full name of first defendant)
                            4080 Lemon Street                       RIVERSIDE, CA.     92501
                        (full address oFfirst defendant)
                            BOARD OF SUPERVISORS
                        (detendanPs position and title, it an}~)


          The defendant issued in his/her(Check one or both): D individual             ❑official capacity.

          Exp]ain ho~v this defendant vas acting under color of lativ;
          Failed to allocate funds to fig or abate the unsanitary condi
                                                                        tion after 2011.




                                                             CIVIL RIGHTS CO~iPLAI\T
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                                                                                                                           Page a of 6
    ll. l;LA1~ti15
         Case 5:17-cv-00333-DSF-SP Document 1 Filed 02/22/17 Page 6 of 18 Page ID #:6
                                                        CLAIM 1
          The following civil ritrht has been violated:
                (SEE AT'TACHNIENT (A) in support of Complaint)




       Supporting Facts; Include all fact; you consider impor
                                                              tant. State the facts clearly, in your o~vn word;,
                                                                                                                 and without
       citing legal authority or argument. Be certain you descri
                                                                 be, in separately numbered paragraphs, exactly ti
                                                                                                                  vhat each
       DEFENDANT(byname)did to violate your right.
         (SEE ATTACHMENT (B) in support of Civil Compliant)




      *Ifthere is ma•e thn~z oj~e claim, dascribe the additionnl
                                                                 clnim(sJ on n~iother crttnched piece ofpaper usin,;
      otr~line.                                                                                                      the some



                                                   CI\'IL RIC(ITS C01[PLAI\T
CV -66 (7.97)
                                                                                                                      Pee i of6
  ~. REQU
     CaseEST FOR RELIEF
          5:17-cv-00333-DSF-SP Document 1 Filed 02/22/17 Page 7 of 18 Page ID #:7
       I believe that I am entitled to the follo~vin~ specific relief:
        (A)~Request Damages in the amount of ~ ~~
      'against each Defendant


       (B) Allow amendment when necessary.


       (C) Award any other relief the court deems necessary in this matte
                                                                          r.




        ~~ '~C~ ~~                                               ~'
    -~~- (Dc~[e)                                                                o   irre of laintif~ ~.` ~ z ~~




                                                  CI\'1L RICIIT5 CO~IPL~U\'I'
CV-66(7:97
                                                                                                             P~~e 6 of 6


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     Case 5:17-cv-00333-DSF-SP Document 1 Filed 02/22/17 Page 8 of 18 Page ID #:8

 z     1)       Plaintiff    R:T~'r0~~.,~~    ~,~,~,1~ e~~          (hereafter "Plaintiff") vas a
 3'             pre-detainee in the Riverside County Detention Centers, specifically,       '
 4

 5

 6

 ~    Z) Robert Presley Detention Center ("RPDC")and South Vest Detention Center
 s          ("SWDC") arz t4~~o detention facilities that are located in Riverside County and
 9          operated by the Riverside County Sheriff's Department. In Both facilities, inmates
to          are housed in cells that have a stainless steel toilet and sink combination unit. The
11          combined toilzt and sink in one cell shares a tivall and connected piping to the

sz          combined toilet and sink in.the adjacent cell.

13

~>    3~ Thy plumbi~~ a~~d sz~,va,;~ systems at both facilities, dui to poor desibn and/or

i5          inadzquat~ maintenance, consistently floods cells 4vith raw sewage that spills from

16       th? toilets. Plaintiffs experienced deplorable, inhumane, and unsanitary conditions

1~      ~at SWDC and/or RPDC. In brief, Plaintiff v~ias confined to a cell in which humans

18          v+paste ~~;ould em2rae from the toilet nearly every time the toilet in the adjoining cell
i9       4vas flushed. On countless occasions, this emerging sewage v~~ouid then spill over.
zo       the rim of the toilet, pouring onto the cell floor and walls.
zi
zz    4) The existence of 52~+lave pouring from plumbing fixtures in cells creates and

z3          unsanitary condition constituting cruel and unusual punishment —where Plaintiff

z4          vas forced to live in a toxic, fetid pool of human ~rraste. The Plaintiff could not

Zs       escape this cesspool of the County's making. Even more egregious, the County and

z6          its jail officials have repeatedly and uniformly denied inmates access to cleaning

z~       supplies to clean their cells of the 4+paste.

zs
       Case
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       2     5) In attempts to make the cells habitabl
                                                       e, Plaintiff 4vou    ld have to resort to using
       3        shampoo they purchase 4vith their o~vn
                                                       money and use a towel (they get one
                                                                                              a
      a         week} to attempt to mop the floor,
                                                   or use his personal bar of soap to clea
                                                                                          n off.
      s         se~vade.
      6

      ~     6) ~~lhen the Plaintiff (as well as other inmate
                                                             s) wou    ld bring the plumbing conditio
                                                                                                      n to
      s        the attention of the guards at RPDC and/or
                                                          S~VDC, the         y tivere often told that the
      9         condition is not subject to a grievance, stat
                                                                ing it is just the w ay the place is buil
                                                                                                          t, the
  zo            county does not have the money to fix it or
                                                                 if you don't like it, don't come to
                                                                                                       jail.
  zl            Also, the Plaintiff (as well as other inmates)
                                                                 4vas discourajed from submitting
                                                                                                        a
 lz             grievance by a 4vid~-spread practice of den
                                                               yinj inmates grievances (the gri
                                                                                                     ?vance
 13             had to bz retrieved and handed to the inm
                                                               atz by the guards. The Plaintiff is
                                                                                                      not
 1^            required to exhaast the administrative rem
                                                               edy, bacaus~ h~ arias reliable inf
                                                                                                     ormzd
 15            b~~ buards tha ~ this is not a grievablz issue.
                                                               (Albino v Baca, 747 F.3d 1162, 1173
                                                                                                         (9~
 i6            Cir. Z10~)["not required to exhaust a rem
                                                             edy that.[they) had been reliably
l~            informed vvas not available to [them]"] see also
                                                                     , Sro~~+in v Valoff, 4Z2 F.3d 926,935
is            (9'h Cir 2005)).
19

zo         7) This Plaintiff would be stuck in an unsanita
                                                           ry cell and facing ofzicials tha     t refuse to
zi            provide cleaning supplies or to formally rep
                                                            ort the condition. Deputies would
                                                                                                    not
zz           specifically pass out cleaning supplies for
                                                          thz Plaintiff to clean his individual
                                                                                                  cell.
z3           Cleaning supplies where only passed out afte
                                                              r each meal to clean the dayroom
z.~          were the inmates eat. The Plaintiff ~niould be
                                                              locked in his cell for this cleaning
zs           routine and not have access to any cleaning
                                                             supplies. Although the Plaintiff had to
zb           use persona! hygiene supplies to clean his cell
                                                               . It ~~ias never disinfected wiith pro
                                                                                                      per
z~           cleaning supplies to kill germs. The ~~~hole tim
                                                              e the Plaintiff vas in the cell, he
                                                                                                    never
zs           received any type of disinfectant that 4vould
                                                             sanitize the cell.
      Case
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      z        8) The Plaintiff(as well as other inmates) that w as hous
                                                                         ed   in RPDC and/or SbVDC have
      3~           publically alleged that the living conditions a both
                                                                         facilities are inhumane and
      4           violate their constitutional rights. To ~t~it, numerous
                                                                             incarcerated individuals have
      5           filed pro se civil rights complaints pursuant to 4Z U.S.
                                                                              0 1983 ajainst the County of
      6           Riverside (and certain jail officials) violated the plain
                                                                            tiff's Eight andJor Fourteenth
      ~          Amendment rijhts by subjecting them to unsanitary,
                                                                          inhumane and repulsive
      s          conditio~~s for prolonged periods of time resulting for
                                                                          a pattern and practice of jail
      Q          officials (i) refusin; to accept inmate grievances about
                                                                           these deplorable conditions
 to              and (ii) ~vithhofdino cl~aninb supplies (disinfectant,
                                                                        mops, toilet brushes, rays etc.).
 zl
 Zz        9) Prior to this Plaintiff's incarceration at RPDC and/or
                                                                     S~`JDC, a previous civil right laws
 13           suit vvas filed in 2011, putting the County, Boards of Supe
                                                                          rvisors, Shzriff and Under
 1G           Shzriff on notice of th? same constitutional rights viola
                                                                        tions. Thomas 6odnar filed
is            his o~~vn Section 19 3 complaint in the Central District
                                                                       on February 25, 2001 against
to           the County of Riv`rsidz in Thomas 6odnar vs. River
                                                                   side Count~~ Sheriff's
l~              Department, et, al. C.D. Cal. Case No. 11-cv-00291 DSF
                                                                       (OP). Like this Plain   tifT's
is         ~    allejations, Bodnar's complaint stemmed from his inca
                                                                      rceration at SWDC
19              (appro:<imately nine to ten months) and RPDC (app
                                                                       roximately eight to nine
zo               months), where he ~~ias exposed to avast~~vater that
                                                                          would regularly back-flush and
21              spill over the toilet into his cell. Bodnar reported this
                                                                          plumbing problem to multiple
zz              custody staff at both facilities and resorted to using a
                                                                           bar of soap to clean the areas
z3              of his cell soiled by the sewaje. The County of Riverside
                                                                              filed a motion for summary
z.~             judgment as to Bodnar's complaint which vas denied,
                                                                            in part, and granted in part.
z5              In its motion,the Court found the County did not deny Bodn
                                                                           ar's allegations of back-
~6             flushing at ~PDC, and found this to be an undisputed
                                                                    fact. (Dkt. 108, ppp.6-7). First,
z~             the Court recognized that "a back-flushing problem, at
                                                                      least 4vhen accompanied by
~s              a refusal to provide cleaning supplied beyond the bar of soap
                                                                              maintained by a
     Case
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             prisoner for personal hygi  ene, amo1unt
                                                    Filed 02/22/17 Page 11 of 18 Page ID #:11
                                                      s to a violation of F~~~hth Amendment
      z      principles. (Dkt. 103 p 17). Second, thz court
                                                              found that Bodnar "presented a
                                                                                                 triable
      3~    issue as to whether Defendant maintained a
                                                             custom of allowiing the back-Flushing
      a     problem while dznyinj cleaning supplies" at RPD
                                                                  C because he presented evidence
     5      that "many inmates were a~+iare of the proble
                                                               m and complained, and that each
     s      mzmber of the custody staff notifizd of the
                                                            problem did nothing to remedy the
     ~     situation." (Id. pp. 17-18). The court found that
                                                                the County ~~ias not entitled to
     s     summaryjud;ment as to Bodnar's claim for
                                                            violation of the Eibhth Amendment
     9     while incarcerated at RPDC since he "presented
                                                                a g?nuine triable issue as to
 Zo         4~;hether the back-flushinb problem and lack of
                                                              access to cleaning supplies at RDPC
 it         violated his constitutional right, and ~~ihethertha
                                                                t constitutional violation 4vas
 lz         caused by a custom employed by [the county]"
                                                             .(Id. p. 18).
 13

 ZT     10)    In 2011, th? board of Supervisors, Kevin Jefferiz
                                                                 s, Marion Ashby,      John
is         Tavajlion~, Jeff Stone and John 62noit, along with
                                                              Sheriff Stan Sniff and        Undzr
i6         Shcrif~ l,~lillia~n Di Yori received notice o.alleged
                                                                  constitutional rights violation in
1~         thz Bodnar's case. Each had a duty or authorit
                                                              y to allocate funds to fix and/or abatz
is         the unsanitary and inhumane conditions, but cho
                                                                  se not to. Each failed to lift a finger
19         from 2011 throughout thz Plaintiffs incarceratio
                                                                 n to fix or abate it.
zo
zl       11) The each Board of Supervisors and the Shzr
                                                         iff were elected officials ~vho failed
zz          to perform a statutory duty and are thus liable (Cal
                                                                 . Gov't Codes 815.6, 815.3
Z3         835.2(a), 835.2(b) and 820.9.
Z4

z5       1Z) Custody/Deputies maintained a 4vide-spread
                                                        custom and/or practice in that
z6          they, ~1~ never passinj out clzaning supplies to
                                                             clean individual cells, and (2) never
z~          pass out grievance forms when requested for
                                                           any of these alienations to obtain
         Case
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                 some type of rem~d~(.Document
                                         These are1partFiled 02/22/17 Page 12 of 18 Page ID #:12
                                                         of the cause of haP-~!of putting the
                                                                                              Plaintiff's
-        z       health at risk and future risk of serious
                                                           health problems.
           3•

           ~      13) The Sheriff and Under Sheriff, wit
                                                         hout overt person    al participation in the
           s         offensive act, but because their implement
                                                                ation     on the Sheriff's Department's
           o         policy aid procedure on clzaningsupplies
                                                                  and grievances ~~ia~ so de~icient,
                                                                                                     the
          ~          policy itself(approved by them) is a repu
                                                               diation of constitutional ribhts and
                                                                                                      the
         8           moving force in thz alleged deprivation in
                                                                 this action.
         9

     10          14) Each board member had the authorit
                                                            y to present allocated funds to the
                                                                                                entire
     11             board to fix the unsanitary conditio~s~at it's
                                                                   Detention Centers and failed to do
                                                                                                      so.
     lz            Each Board member did nothinb.
     13

     l.~         15) The Sheriff and Under Sheriff had a dut
                                                             y after the notice of these deficien
                                                                                                  t
     15             policies and procedures from the Bodnar suit
                                                                  in 2011 to fix the policies and
    1~             procedures and br a{ upthe wiidz-spread
                                                               custom and practice of the deficient
    1~             cleaning supply routing and grievance p.oce
                                                                dure. Each failed to act from 2011
    ss             throuhoutthe Plainti~f's incarceration in
                                                              the county jail.
    19

    zo          16) Each Defendant's failure to act since
                                                          2011 shoti~~s   a direct and intentional
    zi             disregard to inmate's constitutional ribhts.
                                                                This   sho4ved each individual
    zz             defendant(s} reckless and callous indi
                                                          fference to Plaintiff's constitutional rights.
    z3             constituting punitive liability.
    24

    z5          17) The Defendant's cannot escape their
                                                        responsi    bility for maintaining sanitation by
    zs             blaming the prisoners. (Hoptow~it v S.peilman, 753
                                                                      F.2d    779 (9~4 Cir. 1985)).
    z~
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     i      18) Every time the PiaR#iff vas movzd into a cell, the cell
                                                                            Y~,~s never cleaned prior
     z         to my arrival in the cell, nor~rias I able to receive cleaning supplies to
                                                                                          clean the cell
     3~        before f settled in.(Gates v Cook,376 F.3d 3Z3 (5th Cir. 2004)).
     a      19~ Plaintiff's claims are timely pursuant to California Civil Codz
                                                                                Procedures, section
     s         335.1, a t4vo year statute of limitations for injury and section 352.1
                                                                                      (aj a t~vo    year
     6         disability of imprisonment for a total of four years.


 s          20) Exposure to sev~~aoe may result in a number of diseases. Such as
                                                                                 Gastroenteritis
 9            (An inflammation of the stomach and the intestine. Gastroenteritis may
                                                                                          result in
Zo            diarrhea with vomiting and cramps when irritation is excessive.),
                                                                                  Hepatitis (means
11            inflammation o.the liver. b~Jhen hepatitis is a result of se~va~~ backup
                                                                                       it is often
1z            chara~t?rized by inflammation of the liver andjaundice), Occupation
                                                                                  al Asth          ma (A
~3            respiratory disorder characterized by attacks of breathlessness, chest
                                                                                     tightness
la            and 4~~h~~zin~~, „Ilerjic ^,Iveolitis (inflammation of th? alveoli in the
                                                                                          lungs, it is
15            charact~riz~d b~~ fever, breatnl~ssnzss, dry cou p, and aching muscles
                                                                                     aid joints)
i6            and disease transmission is in three Uiays (1) mouth to mouth,(2) Skin
                                                                                     contact to
i~            skin contact, and (3} Inhalation contaminated organisms may penetrate
                                                                                    the body
is            simply as ~~~e breathe aerosolized.
19

zo         Z1) Plaintiff from the unsanitary condition:~~e.~~.eQ ;~,o~~T-
                                                                         ~p~~~-e ~`i'~-~ 5
z1        ~~c~R21~e3~ S'~fl~n a-~~r e~c~.t.~~, g ~.
                                                . tic=ka ~,.~-.~. a~F ~~sa
                                                                           ~~.— ~
zz        ~' ~+J~-es~-~- n ~ ,~'~h~et~
                                           ~~-~~, t.,,~ s    -y w~,.~?a MS
23

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28
     Case
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                                     CAUS E OF02/22/17
                                                ACTIONSPage 14 of 18 Page ID #:14
     z

     3~       Cause One:
     4

     s     2Z) Plaintiff R~peat5 and alleges the all~~ations containzd in pa.aoraphs
                                                                                     numbered
     5        1-21, inclusive to this complaint.


 s        23j As a direct result of each individual defendant sued in their individual
                                                                                       capacity,
 9            being deliberately indiffzrent to Plaintiff's constitutional right to sanitary
                                                                                               livinb
Zo           conditions in the Co~~n~y's Detentions Centers. Their actions and/or inacti
                                                                                               ons of
1~           official d!~ty to cure aid/or abate the unsanitary living conditions is thz
                                                                                         proxima~e
lz           cause o. unreaso~abl~ risk of harm and future harm to a serious health
                                                                                              problems,
13           to v+~hich is still a concern of the Plaintiff. Causing PlaintifT's rights secured
                                                                                                by the
lY           Fourteen ",mznd~n~nt under the Eight F,mendm~nt Standards for apre-
                                                                                             d=tain~e
15           v+sere violated.
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is           Cause Two:
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zo        24) Plaintiff Repaats and all~;es the a112bations contained in paragraphs
                                                                                    numbered
zl           1-Z1, inclusive to this complaint.
2z
z3        25) As a direct result of Defendant, County of Riverside, it's employees being

z4           deliberately indifferent to Plaintiff's right to sanitary living conditions, in
                                                                                             their
2s           actions and/or inactions and their 4vide-spread custom and practice of,(1)
                                                                                        never
26           passing out cleaninb supplies to specifically clean cells,(2) never passing out
z~           grievances to inmates, and (3) never filing maintenance request when
                                                                                  inmates
zs           request them. This execution of policy and custom by County's employees
  i
  Case 5:17-cv-00333-DSF-SP
          constitutes the Co `y's Document
                                     liability.1 Also,
                                                   Filed 02/22/17
                                                       the County'sPage
                                                                    fa 15e tooffix
                                                                                18thePage ID #:15
                                                                                       plumbing
  z       problem of back-flushing in the cells, which allo4ved rave sewage to
                                                                                    spill into the
 3~       cells, shoved the County's deliberate indifference to risk of serious
                                                                                     health concern
 a        of inmates and disregards the obvious need of sanitation. These are
                                                                                     the causes of
 s       the Plaintiff suffering and/or injury, and forced to live in inhumane
                                                                                   and unsanitary
 s       living conditions that put his lift at risk and futurz risk o.serious
                                                                                 health problems,
 ~       to which is still a concern today. Causing Plaintiff's rights secured by
                                                                                     the Fourteen
 s       Amendment under the Eight Amendment Standards for apre-detai
                                                                                    nee were
 s        violated. Thus, ma.<ino County of Riverside 1ia51e.
10       ///
ii       ///
iz       ///                                                                       ~~~ -~~~~
13    DATE_: ~ ~`   ~ ~'l   ~.~ r ~                                             ~ ,1L~:~LL~
                                                                                   ~~'G~ / F'i U
                                                            PLAINTIFF/     PRJ ~F
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                                                                   ProofofService —Mail



                                  PROOF OF SERVICE



        Re:     Case Number




        I hereby declare that I am a citizen of the United States, am over 18 years of age,
  and~am not a party in the above-entitled action. I am employed in/reside in the
  County of /~lI~~~Sf`~                              and my business/residence address is
   ~O 6i~ ~C ~i3~l'' g ~ L ~f~t~~- ~~- 5 2- L z ~



           Ong ~ ~ ~ 2- ~ ~ ~`                   , I served the attached document described
                   as a f'_T✓~L ~1~~ C~~Mf,~+t,~.,%7            ,O~r,'.3'c.~r~'1~7U



  on the parties in the above-named case. I did this by enclosing true copies of the
  document in sealed envelopes with postage fully prepaid thereon. I then placed the
  envelopes in a U.S. Postal Service mailbox irr-~%~`~/'>~ ~~              California,
  addressed as follows:




                    ~~S ra~~ e~ ~ r ~ ~.~.
                                                       ~o~ ~ ~-



         I,e,       ~~ ~-~~.~, T~~ ~ ~~~            ~ ~~~v ~i~c~
                                                              , declare under penalty of
  perjury that the foregoing is true and correct.

         Executed on ~ ~I~ l'
                            20~ ~                        , at ~~~~~ S~
        C~~'~ ~~                  ,California.


                                                                              ~~3~~~ ~~
                                                             Signature
          __
 Case 5:17-cv-00333-DSF-SP Document 1 Filed 02/22/17 Page 17 of 18 Page ID #:17




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